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                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

 BERNHARDT TIEDE, II;                       §
 TEXAS PRISONS COMMUNITY                    §
 ADVOCATES; BUILD UP, INC. a/k/a            §
 LIONESS: JUSTICE IMPACTED                  §
 WOMEN’S ALLIANCE; COALITION FOR            §
 TEXANS WITH DISABILITIES; TEXAS            §
 CITIZENS UNITED FOR                        §
 REHABILITATION OF ERRANTS,                 §
                                            §            Civil Action No.: 1:23-cv-01004-RP
              Plaintiffs,                   §
 v.                                         §
                                            §
 BRYAN COLLIER, in his official capacity as §
 Executive Director of Texas Department of  §
 Criminal Justice,                          §
                                            §
              Defendant.                    §

       THE PARTIES’ JOINT ADVISORY CONCERNING OUTSTANDING
  EVIDENTIARY DISPUTES FROM THE PRELIMINARY INJUNCTION HEARING



       In accordance with the Court’s order on August 20, 2024, Plaintiffs and Defendant Collier
(“the Parties”) file this joint advisory summarizing the outstanding evidentiary disputes from the
Preliminary Injunction Hearing.



 Objection              Transcript Day         Plaintiffs’ Position       Defendant’s
                        of hearing),                                      Position
                        page(s) and
                        line(s)
                        (Ex.: Day, pg. at
                        time stamp)
 Defendant objects to Objections recorded      The video excerpts are     Mr. Collier was the
 video excerpts of      in Vol.1 at pg.        from TDCJ’s 30(b)(6)       TDCJ’s representative
 TDCJ 30(b)(6)          207,15:04:58           witness’s deposition       during the hearing.
 witness David                                 and the testimony is       Plaintiffs knew he
 Sweetin’s deposition                          admissible      under      would be called to
 because of                                    Federal Rule of Civil      testify in that capacity.
 Plaintiffs’ failure to                        Procedure    32(a)(3)      Playing prior TDCJ


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give adequate notice                        which authorizes the        30(b)(6)       deposition
that they were not                          use of deposition           testimony without Mr.
going to call                               testimony of a party        Collier on the stand to
Sweetin to testify                          against that party for      explain or modify the
but rather they                             any purpose, without        agency’s testimony is
intended to offer                           regard to availability.     improper because the
video excerpts of his                                                   testimony is being
deposition testimony                        Plaintiffs disagree that    offered           without
and they provided                           Defendant was “unable       objections ruled upon
less than ## hours                          to lodge objections” or     and              optional
notice to Defendant                         that Defendant was          completeness.
of the designated                           unable      to     offer    Moreover, presentation
excerpts. So                                additional excerpts for     and admission of the
Defendant was                               optional completeness       30(b)(6) video did not
unable to lodge                             as Director Sweetin         allow       Defendant’s
objections to the                           was represented by          counsel the opportunity
video testimony in                          TDCJ Counsel at his         to re-direct the 30(b)(6)
real time; and                              deposition and Mr.          witness      until    Mr.
Defendant was                               Collier filed cross-        Collier was called in
unable to offer                             designations at ECF         Defendant’s case-in-
additional excerpts                         170. Plaintiffs did not     chief. Because Mr.
for optional                                object to any of            Collier was the agency
completeness.                               Defendant’s      Cross-     representative at the
                                            Designations. See ECF       hearing.        Plaintiffs
The parties agree all                       181, p. 1.                  should use the prior
issues related to                                                       30(b)(6)       deposition
TDCJ’s 30(b)(6)                             Finally, if Mr. Collier’s   testimony as rebuttal or
witness deposition                          counsel believed any        impeachment evidence
have been briefed in                        part      of     TDCJ’s     when cross-examining
ECF Nos. 157, 162,                          testimony       required    Collier.
163, 165, 169, 170,                         explanation            or
171, 176, and 181.                          modification,       they
                                            were able to ask him
                                            these questions during
                                            his          testimony.
                                            Plaintiffs’ deposition
                                            designations were filed
                                            on July 29, 2024 (ECF
                                            155) and Mr. Collier
                                            did not testify until
                                            four days later on
                                            August 2, 2024.

Defendant reasserts     Day 1, pg. 211 at   Plaintiffs addressed the The objections made
the objections made     15:28:16            objections made by by Defendant during
(and not ruled upon)                        TDCJ’s counsel during TDCJ             30(b)(6)


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during the TDCJ          Day 2, pg. 6 at     Director     Sweetin’s      witness’s deposition
30(b)(6) witness’s       8:30:38             deposition at ECF 181       should be ruled on
deposition.              Day 3, pg. 293 at   and agree this issue is     before Court considers
                         17:37:24            fully briefed for the       the testimony offered.
*All issues related to                       Court’s consideration.
TDCJ’s 30(b)(6)
witness deposition
have been briefed in
ECF Nos. 157, 162,
163, 165, 169, 170,
171, 176, 181.

Defendant reasserts      Day 2, pg. 6 at     Exhibit 150: TDCJ’s         Defendant contends
the objections made      8:30:38             Counsel did not object      objections were made
(and not ruled upon)                         to     this   document      to Plaintiffs’ Exhibits
during the TDCJ                              during the deposition       during the deposition
30(b)(6) witness’s                           which was marked as         of TDCJ’s 30(b)(6)
deposition and                               “Deposition     Exhibit     witness are the they
Defendant’s                                  3”. See 170-2, p. 3 at      were not admitted into
objections to                                6:14-15; id. at p. 32,      evidence because they
Plaintiffs’ Exhibits                         121:12-122:19. During       were presented and
150, 45, 132, 55                             the PI hearing, Ron         discussed during the
(ECF No. 50-52,                              Hudson independently        deposition.
which is the A&M                             authenticated       this    Defendant’s objections
study/Purdum                                 document and agreed it      to Plaintiffs’ Exhibits
Study)                                       was accurate at Vol. 4,     were not ruled upon
                                             128:9-25. This is still a   during the deposition.
                                             current,       accurate
                                             depiction of TDCJ’s         Plaintiffs used
                                             website:                    Plaintiffs’ Ex. 150
                                             tdcj.texas.gov/ac/          during Day 4 during
                                                                         their cross-
                                             Exhibit     55:    This     examination of TDCJ
                                             exhibit was discussed       Facilities Director Ron
                                             during Mr. Collier’s        Hudson. Day 4, pg.
                                             cross-examination at        139: 1.
                                             Vol. 4, beginning at
                                             121:13. Mr. Collier         Plaintiffs used
                                             agreed this was a copy      Plaintiffs’ Ex. 55
                                             of the study he was         during their cross
                                             given, addressing any       examination of TDCJ
                                             authenticity concerns.      Executive Director
                                             This study goes to Mr.      (and TDCJ corporate
                                             Collier’s notice that       representative) Bryan
                                             TDCJ’s       mitigation     Collier. Day 4, pg.
                                                                         235: 11.


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                                           efforts were not being
                                           implemented.              Neither Pl. Ex. 150 nor
                                                                     Pl. Ex. 55 were offered
                                           Exhibit 132: This is a by Plaintiffs’ counsel
                                           document produced by at any other point
                                           TDCJ accompanied by during the hearing.
                                           a business records Accordingly,
                                           affidavit      reflecting Defendant’s objections
                                           inmate complaints and to the admission of
                                           heat-related illnesses. these Exhibits have not
                                           It is both authentic and been ruled upon.
                                           relevant.                 Plaintiffs’ reference to
                                                                     the Exhibits during
                                           Exhibit      45:     This their cross-
                                           document             was examination of
                                           discussed         without Hudson and Collier
                                           objection during Mr. did not resolve
                                           Sweetin’s deposition. Defendants’ pending
                                           See 170-2, beginning at objections to the
                                           p. 76 at 304:1. This Exhibits.
                                           document         likewise
                                           goes to Mr. Collier’s
                                           notice.


Defendant’s            Day 2, pg. 137 at   The Court noted it     Defendant objects to
objection to           11:56:11            would carry an         Michelle         Deitch’s
Plaintiffs’ witness                        objection without      testimony under Fed.
Michelle Deitch’s                          requiring a response inR.       Evid.       702.
testimony prior to                         the moment from        Defendant filed his
the hearing because                        Plaintiffs concerning  objection to Deitch
her testimony is not                       Professor Deitch’s     being called as a
helpful or relevant to                     testimony. See Vol. 2, witness prior to the
the issues to be                           137:6-10; 20-22.       hearing because her
resolved in this case.                                            testimony       as     an
                                           Professor Deitch       attorney and university
                                           testified at length at lecturer that studies jail
                                           the hearing about her  and prison conditions is
                                           qualifications as an   not relevant to the
                                           expert in prison       issues         presented.
                                           conditions and prison  Deitch       has       no
                                           policy. (Vol. 1 at     knowledge of TDCJ’s
                                           137:1-143:14.) She     initiative            and
                                           offered relevant       installation     of    air
                                           testimony regarding    conditioning in its
                                           the “enormous” impact facilities. She has no


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                                             that TDCJ’s               personal     knowledge
                                             understaffing issues      related to TDCJ’s
                                             have on its ability to    previous or current heat
                                             implement its heat-       mitigation efforts. Her
                                             mitigation measures       testimony is offered
                                             (see id. at 144:1-        only to opine on the
                                             152:23), as well as the   legal conclusions the
                                             reasons why TDCJ          Court is asked to make.
                                             prisons were built in     Her testimony as it
                                             the 1990s with air-       relates to TDCJ’s
                                             conditioning in the       current heat mitigation
                                             inmate living areas       measures      and     air
                                             (see id. at 152:24-       conditioned facilities
                                             154:21). And she did      and projects should not
                                             not offer any legal       be allowed as it is
                                             conclusions in that       irrelevant and will not
                                             testimony. As a result,   aid the Court in the
                                             Mr. Collier’s             deciding the legal
                                             objections to her         issues     and     relief
                                             testimony should be       requested in this case.
                                             overruled.



Defendant                Day 2, pg. 159 at   The Court noted it        Defendant objects to
objections to            12:28:39            would carry an            Dr. Biswas testimony
Plaintiffs Dr.                               objection without         because it is irrelevant
Biswas’s testimony                           requiring a response in   to the issues before the
as an expert witness                         the moment from           Court. Dr. Biswas is a
because her                                  Plaintiffs concerning     licensed psychiatrist
testimony not                                Dr. Biswas’s              and her testimony
relevant to the issues                       testimony. See Vol. 2,    about       the    mental
presented; she lacks                         160:11-13.                illnesses inmates may
the knowledge,                                                         suffer is not relevant to
experience, and                              Dr. Biswas testified at   TDCJ’s heat mitigation
expertise necessary                          length at the hearing     measures        or     air
to qualify as an                             about her                 conditioning       TDCJ
expert related to the                        qualifications as an      facilities’      housing
issues presented; her                        expert in psychiatry      areas. Plaintiffs fail to
testimony is                                 and the psychiatric       demonstrate           the
redundant because it                         treatment of              foundation necessary
restates other                               individuals in the        to establish Dr. Biswas
witnesses’                                   criminal justice          is qualified to offer
testimony; and her                           system. Vol. 2 at         expert opinions and/or
opinions and                                 160:25-164:10; see        testimony about heat
                                             also P’s Ex. 131.         exposure as it related to


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testimony lack lack                 Plaintiffs responded to   inmates suffering from
proper foundation.                  that objection in the     mental illneses.
                                    hearing. (See id. at      Dr. Biswas’s testimony
                                    165:7-14.) And Dr.        is    also    redundant
                                    Biswas proceeded to       because     Dr.    Susi
                                    provide relevant          Vassallo’s testimony,
                                    testimony regarding       who is designated as a
                                    the impacts of extreme    medical expert in
                                    heat. (See id. 167:24-    thermoregulation,     e
                                    183:19.) Most             addresses the potential
                                    significantly, she        effects of extreme heat
                                    concluded that            conditions           on
                                    “exposure to periods      individuals that suffer
                                    of extreme heat           mental illnesses.
                                    cause[s] a substantial
                                    risk of serious harm”     Defendant’s objections
                                    to TDCJ inmates, by       to     Dr.   Biswas’s
                                    increasing the            testimony was fully
                                    incidence of and          briefed prior to the
                                    exacerbating existing     hearing. ECF No. 160.
                                    mental health
                                    conditions. (Id. at
                                    185:13-20.) As this
                                    testimony goes to the
                                    heart of Plaintiffs’
                                    Eighth Amendment
                                    claim, it is clearly
                                    relevant..

                                    Finally, Dr. Biswas’s
                                    testimony was not
                                    “needlessly
                                    cumulative” of Dr.
                                    Vassallo’s testimony
                                    as required to be
                                    excluded under Rule
                                    403, as Dr. Vassallo is
                                    not a psychiatrist and
                                    did not discuss many
                                    of Dr. Biswas’s
                                    opinions. Nor is there
                                    any danger in the
                                    Court assigning any
                                    undue weight under
                                    Rule 403 where there
                                    was no jury.



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Defendant’s              Day 3, beginning on   Plaintiffs’ position is      TDCJ        Correctional
objection to             page 21 at 9:21:45    more fully addressed         Institutions Division
testimony sought                               in ECF 157. Where            Director         Bobby
from TDCJ 30(b)(6)       Re-raised on Day 3,   TDCJ did not prepare         Lumpkin has personal
witness’s testimony      beginning on page     Director Sweetin as          knowledge about heat
about inmates’ “heat     94 at 11:08:28.       required, the Court          scores and the ways in
scores”.                                       should order sanctions,      which the scores are
                                               including excluding          generated,
*All issues related to                         evidence Plaintiffs          disseminated,        and
deposition of                                  specifically sought          utilized by TDCJ in
TDCJ’s 30(b)(6)                                that was within the          relation to inmates’
witness have been                              scope of the 30(b)(6)        housing assignments.
fully briefed in ECF                           notice, that Mr.
Nos. 157, 162, 163,                            Sweetin was
165, 169, 170, 171,                            unprepared to discuss,
176, 181.                                      and that was discussed
                                               by other TDCJ
                                               witnesses at the
                                               hearing.

                                               The fact that Mr.
                                               Lumpkin has personal
                                               knowledge doesn’t
                                               change TDCJ’s duty to
                                               prepare Mr. Sweetin to
                                               testify as to these
                                               topics or to designate
                                               Mr. Lumpkin if he was
                                               the one with
                                               knowledge.
Plaintiffs’ objection    Day 3, page 8,        Plaintiffs       contend     Defendants       contend
to the admission of      9:03:35               Build      Up,      Inc.’s   standing is a “bedrock
Build Up’s                                     articles                of   constitutional
(Lioness’s) Articles                           incorporation         and    requirement”. United
of Incorporation and                           bylaws should not be         States v. Texas, 599
bylaws                                         admitted because the         U.S. 670, 675 (2023).
                                               documents              are   Students     for    Fair
                                               irrelevant.                  Admissions addresses
                                                                            what a plaintiff is
                                               Under Students for           required to plead in a
                                               Fair Admissions, Inc.        complaint, not what is
                                               v. President & Fellows       required      after    a
                                               of Harv. Coll., 600          plaintiff’s standing is
                                               U.S. 181, 201 (U.S.          questioned          with
                                               2023), where, as is the      competent evidence.


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                                               case with Build Up,        While a court is not
                                               Inc. (Lioness), “an        required to scrutinize
                                               organization       has     how an organization
                                               identified    members      operates      if     the
                                               and represents them in     organization professes
                                               good faith, our cases      to have members that it
                                               do not require further     represents in good
                                               scrutiny into how the      faith, the Court should
                                               organization operates.”    not turn a blind eye to
                                                                          evidence            that
                                                                          challenges            an
                                                                          organizational
                                                                          plaintiff’s standing.


Finally, the Parties also request the Court set a date for the parties to meet and confer on a new
scheduling order because many of the dates in the current proposed scheduling order have passed.
Dated: August 22, 2024
                                     Respectfully submitted,

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